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                                                                                           Page 4 of 6
                                                                                           Statment Period
                   UNIVERSAL CONSULIIING RESOURCES,LLC                                     O″01ハ 8 through O″ 町 08
                                                                                           勁   P PA OA 47
                                                                                           Endosures o
                                                                                           Ac∞ unt Nulnber
                                         Withdrawals and]Debits‐ COntinued
                                                     Other Debits

 POSted         AmOunt(3)         DeSCription                                                  Reference
 04/02                  5。   ∞         Wire Tlansfer Fee
 04/11                                                                                           903704020065731
                    5,CX10.00          Wire Tlpe:Wire Out Date:080411 Time:1520 Et               903704110223138
                                    Tbn:20O8041100223138 Senrice R.ef00356g
                                    BnfCitizeng State Bank ID:90628 Bnf BkArkansas B
                                    Ankers' Bank ID:082001200 Pmt Det:Ffc D*i"-U*t tt
 04/11
 04/11
                       25.00
                        5。   ∞
                                    fiffiffi#"J.F
                                    Wire Tlansfer   Fee
                                                                                                 903704110123397
                                                                                                 903704110123398
 04/18             7,000.00         Wire Tlpe:Book Out Date:08M18 Time:1127 Et                   903704180137926
                                    Tbn:2008041800137926
                                    Bnf:American Century Holdings, ID:69001820290
04/18                 25.00         Wire Tbansfe! Fee
04/18                                                                                            903704180118754
                      12.00         Wire Tlansfer Fee                                            903704180076865
04/18                  5.∞          Wire Tbansfer Fee
04/18                                                                                            903704180076866
                             ∞      Wire Tbansfer Fee
04/21
                        5。
                                                                                                 903704180118755
                      12.00         Wire Tbaasfer Fee                                            903704210070969
04/21                  5.00         Wire Tlansfer Fee
04/22                                                                                            903704210070970
                 500,000.00         Wire lype:lrtl Out Date:$$MZZ fime:1840 Et                   903704220206423
                                   Tbn:200804220020il23 Senrice R€fA19982
                                   EnfArcanum Equity F'und Llc LD:25L4446-A*5
                                   Bnf Bk-Deutgche Bink Ag ID:061968/AcWtiZZ
04/22                 45.00        Wire Tbansfer Fee
04/22                                                                                            903704220104020
                      10.00        Wire Tbansfer Fee                                             90370422∞ 82240
04/22                   ∞
                       5。          Wire Thansfer Fee
04/22                                                                                            903704220104021
                       ユ00         Wire Tlansfer Fee                                             903704220082241
町 23             500,Oo000         Wire T!'pefntl Out Date:080423 Time:1800 Et                   903704230196768
                                   Tbn-20080.42300196768 Senrice n€f,g1g7g4
                                   Bnfi.{rcanum Equiry Fund LIc tDeSiaaa6as s
04/23                 45.00
                                   Enf Bt:DeutscL6 Bink nt mioerseffiriil";dr
                                   Wire Tbansfer Fee                                            903704230107367
04/23                  5.00        Wire Thansfer Fee                                            903704230107368
  /25            2∞ ,000.00        Ifire T]pe:Intl Out Date:080425 Time:IzglE;t                 903704250166012
                                   Thn:2008O42500166012 Senriee n€ffr230t
                                   BnfiArcanum Equity Fund Uc ID:2SlargeOEg
                                   Bnf B kO euts ch6 B inh iD-toaat tTdg -Frnf be[,F"nd" Fo,
                                   Surety Besources
04/25                45.00         Wire Tbansfer Fee
04/25                                                                                           903704250124798
                            ∞      Wire Tbansfer Fee
04/28
                       5。
                                                                                                903704250124799
                     12.00         Wire Tbansfer Fee                                            903704280049287
04/28                 5.∞          Wire Tbansfer Fee
04/29                                                                                           903704280049288
                500,000。 ∞         Funds Tbansfer Debit                                         945004291210372
                                   Fdes Nfl 0006121 NbkSSOG
04/29               100.00         Funds Tbansfer Debit                                         945004291210374
                                   Fdes Nfl 0006121 Mk6SWb
04/30                  5。   ∞      Wire Tbansfer Fee                                            903704300011597




                                                    GOVERNMENT
                                                       EXHIB:T
                                                                                                         BOA― UCR0000312
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